The majority tortures every homily of statutory construction imaginable to try to save this statute. The only maxim of construction applicable here is the one specifically contained in the criminal code which states that, "[s]ections of the Revised Code defining offences or penalties shall be strictly construed against the state, and liberally construed in favor of the accused."  R.C. 2901.04 (A); see, also State v. Wilson
(1978), 57 Ohio App.2d 11, 23.
The simple fact is that the legislature forgot to conform R.C. 959.02
to the 1974 culpability statute and it ought to be the legislature that fixes this omission.  The defendants should have been charged with some other offense, but since they were not, I would affirm the trial court's decision to dismiss these cases.